       Case 4:11-cr-00290-LPR           Document 286         Filed 07/19/12      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                                  PLAINTIFF

v.                                   NO. 4:11CR00290-06 JLH

JARED GREENE                                                                             DEFENDANT

                         ORDER MODIFYING BOND CONDITIONS

       Defendant Jared Greene appeared in person with his attorney, Leslie Borgognoni, for a

change of plea hearing on Wednesday, July 18, 2012. The government was represented by Assistant

United States Attorney Stephanie Gosnell Mazzanti. United States Probation Officers Kimberly

Lawson and Audrene Ellis were also present at the hearing.

       Following the acceptance of defendant’s guilty plea to Count 1s of the Superseding

Indictment, the Court determined that defendant would be allowed to remain out on the current bond

conditions in order to complete the residential treatment he is currently enrolled in.

       IT IS THEREFORE ORDERED that defendant must successfully complete the residential

treatment program in which he is currently enrolled in Louisiana. In the event the defendant’s

treatment is completed prior to the sentencing date, the defendant is directed to self-surrender to the

United States Marshals Service to begin serving his term of imprisonment.

       All other conditions of supervision remain in full force and effect as previously imposed.

       IT IS SO ORDERED this 19th day of July, 2012.



                                                       ___________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
